Case 3:20-cv-00550-JAG Document 4 Filed 08/03/20

IN THE UNITED STATES DISTRICT CC
FOR THE EASTERN DISTRICT OF VIR¢

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCA
CRIMINAL RULE 57.4
In Case Number 3:20-cv-00550-JAG , Case Name Bruce E. Katz

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L CIVIL RULE 83.1(D) AND LOCAL

M.D. P.C. v. Cordell Medical

 

Party Represented by Applicant: Plaintiff Bruce E. Katz M.D. P.C.

 

To: The Honorable Judges of the United States District Court for the Eastern District
PERSONAL STATEMENT

FULL NAME (no initials, please) Patrick H. Peluso

of Virginia

 

Bar Identification Number 47642 State CO
Firm Name Woodrow & Peluso, LLC
Firm Phone # 720-213-0675 Direct Dial # 720-213-0676

 

 

FAX # _ 303-997-0809

 

E-Mail Address ppeluso@woodrowpeluso.com
Office Mailing Address 3900 E. Mexico Ave., Suite 300, Denver, Colorado 80210

Name(s) of federal court(s) in which I have been admitted See Addendum A

I certify that the rules of the federal court in the district in which I maintain my office
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court p
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application!
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of
Evidence is current.

x

Iam am not a full-time employee of the United States of America, and ifs

/s/
(Ap

extend a similar pro hac vice admission

ertaining to my conduct or fitness as a

, | have read the Local Rules of this Court
Criminal Procedure, and the Federal Rules of

0, request exemption from the admission fee.
Patrick H. Peluso
plicant’s Signature)

I, the undersigned, do certify that 1 am a member of the bar of this Court, not related to the applicant; that I know the applicant

personally, that the said applicant possesses all of the qualifications required for admi
examined the applicant’s personal statement. | affirm that his/her personal and profes

petition the court to admit the applicant pro hac vice. yao
AMAA Y.

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(Signature) “7 ~

Francis J. Driscoll, Jr.

(Typed or Printed Name)
Court Use Only:

Clerk’s Fee Paid or Exemption Granted

The motion for admission is GRANTED or DENIED

 

(Judge’s Signature)

sion to the bar of this Court; that I have
sional character and standing are good, and

la fa
(Date)
45325

(VA Bar Number)

 

(Date)

 
